Case 5:23-cv-11074-JEL-EAS ECF No. 17-3, PageID.842 Filed 07/22/23 Page 1 of 4




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN


LIBERTARIAN NATIONAL           |
         COMMITTEE, INC.,      |
                               |
     Plaintiff,                |
  v.                           |              CIVIL ACTION NO.:
                               |
MIKE SALIBA, et. al.           |              23-cv-11074
                               |
     Defendants                |
                               |              JURY TRIAL DEMANDED
                               |
                               |
_______________________________|


                  DECLARATION OF ANGELA MCARDLE

      Under 28 U.S.C. §1746, I, Angela McArdle, declare as follows, under

penalty of perjury:

      1.     I am over the age of 18, of sound mind, and otherwise competent to

provide this declaration under penalty of perjury.

      2.     I am the National Chair for the Libertarian National Committee

(LNC) and the national Libertarian Party (NLP).

      3.     On February 16, 2023, at the direction of the LNC via email ballot

20230206-02 [see Exhibit 60, LNC email ballot 202306901-02], I sent a cease and

desist to Defendant Brungardt who was then claiming to be chair of our Michigan

affiliate. [see Exhibit 8, PageID.474-476]

                                        1
                                    EXHIBIT 42
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      4.     In this letter, I never mentioned disaffiliation, certainly not

constructive disaffiliation, as the Michigan affiliate was in good standing as it has

been since it was formed in 1972. I simply informed Defendant Brungardt of the

LNC's recognition of Andrew Chadderon as the legitimate chair of our sole

recognized Michigan affiliate and demanded that he cease and desist all use of the

Party's Trademarks. [Id.]

      5.     The email from Joseph Zito, Esq. referred to by Defendants was sent

with my permission and also does not claim that we disaffiliated the Defendants or

their group, but rather strongly asserted our constant position that they do not

legitimately represent our recognized affiliate. [PageID.628 and Defendants'

Exhibit 10, PageID.725-726] The only mention of "constructive disaffiliation" was

in the context of what any speculative future recognition of their legitimacy would

amount to with regard to the Chadderdon-led affiliate since we have previously

determined that their claims are without merit. It was a procedural question about

an imaginary future, not a statement on anything that has happened as is obvious in

context of Mr. Zito's email, my letter to Defendant Brungardt, and Secretary

Harlos' communications with Defendant Saliba. [see Exhibit 62, Emails between

LNC Secretary Harlos and Defendant Saliba dated March 6, 2023]




                                           2
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            Jul 21, 2023
Executed on ________.



_________________________
Angela McArdle (Jul 21, 2023 12:15 CDT)




Angela McArdle, LNC and NLP Chair




                                          3
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DECLARATION OF ANGELA MCARDLE- V2
Final Audit Report                                                                               2023-07-21

  Created:                 2023-07-21

  By:                      Caryn Dossantos (idrankthekoolaid@mac.com)

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